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                 EXHIBIT 2
Case 6:23-cv-00871-CEM-DCI Document 186-2 Filed 09/06/24 Page 2 of 3 PageID 3623

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DUSTIN MAUSER-CLAASSEN                         July 31, 2024
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QUINN B. RITTER
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   SENT VIA EMAIL ONLY (to mike@beltranlitigation.com, emead@mhw-law.com,
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   Pensacola, FL 32502

            Re: Dorworth v. Greenberg, et al., Case No. 23-cv-00871

   Dear Messrs. Beltran, Mead, Beall and Andrade,

           This letter is notice to you of our challenge to the designation of (1) K        M       ’s
   entire deposition as confidential; (2) Michael Fischer’s entire deposition as confidential; and (3)
   Rebekah Dorworth’s entire deposition as confidential.

           Pursuant to paragraph 15 of the attached “Confidentiality Agreement Governing Lawsuit”
   agreed to in this case, you have ten days to file a motion seeking to continue the “confidential”
   protection of these deposition transcripts.

          With regard to the deposition transcript of Rebekah Dorworth, an objection was raised to
   Mr. Beltran’s confidentiality designation and a demand for removal of the confidentiality
   designation was made during the July 23, 2024 deposition. Accordingly, you have until Friday,
   August 2, 2024 to file a motion seeking to continue the “confidential” protection of Rebekah
   Dorworth’s deposition.
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Michael Beltran
July 31, 2024
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            With regard to the deposition transcript for Defendant A.B., we note that A.B.’s counsel
    challenged Plaintiff’s designation of A.B.’s entire deposition as confidential on July 18, 2024,
    which started a 10-day deadline to file a motion with the court to protect the confidentiality
    designation that expired on July 28, 2024. A.B.’s counsel then emailed on July 30, 2024 indicating
    that Plaintiff planned to revise his designation to include only certain portions of A.B.’s deposition.
    A.B.’s counsel also marked as confidential any identifying information in either transcript for A.B.
    and K           M       . Other than the identifying information A.B.’s counsel designated as
    confidential in her email, we do not believe that any portions of the depositions qualify for such
    designation. However, we will consider any further designations to A.B’s deposition transcript
    that you will provide us. Though your original 10-day deadline has lapsed, as a courtesy we are
    providing you with an additional 10 days from today to identify any new designations.

           In the meantime, and also pursuant to the Confidentiality Agreement, please let me know
    your availability to confer on the matter.

                                                           Sincerely,



                                                           Frederick S. Wermuth
    FSW/mh
    cc:  all record counsel
